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UNITED STATES DlSTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

TORRANCE LEE,
Case No. 15-CV-614
Plaintiff,
St. Ci'oiX County Case No. 15-SC~1092
v.

CREDIT ACCEPTANCE CORPORATION,

Defendant.

 

NOTICE OF REM()VAL

 

PLEASE TAKE N()TICE that Defendant Credit Acceptance Corporation (“CAC”)
hereby removes this action to the United States District Court for the Western District of
Wisconsin, pursuant to 28 U.S.C. §§ 1331 (federal question), 1441 and 1446, and as and for its
short, plain statement of the grounds for removal, respectfully states and alleges as follows:

1. On September 4, 2015, Plaintiff Torrance Lee commenced a small claims action
against CAC in the Circuit Court for the State of Wisconsin - St. Croix County, captioned Lee v.
Credz`l Acceplance Corporatz'on, Case No. 15-SC~1092, by filing a small claims Summons and
Complaint With the St. CroiX County Clerk of Court, a true and correct copy of Which is attached
hereto as Exhibit 1.

2. CAC first received EXhibit 1 vvithin the meaning of 14 U.S.C. § 1446(b) on
September 10, 2015. (See Ex. 1.) The time Within Which CAC is required to file a responsive
pleading has not yet expired No further proceedings have been had in this action.

3. The complaint filed by Plaintiff, Exhibit 1, is a civil action of vvhich this court has

original jurisdiction pursuant to 28 U.S.C. § 1331 (federal question), in that it asserts a claim for

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alleged violations of portions of the Equal Credit Opportunity Act, 15 U.S.C. § 1691(d) and 12

C.F.R. §§ 202.9(a)(2), 202.12. (See EX. 1, Cornpl. 1111 38-40.)

4. Removal is timely under 28 U.S.C. § 1446(b) as CAC first received the Summons

and Coinplaint, Exhibit 1, on September 10, 2015. (EX. 1.)

,.

J. 1n accordance With 28 U.S.C. § 1446(d), vvritten notice of removal is being

provided to Plaintiff and filed With the Clerk of the Circuit Court for St. Croix County.

Dated this 24th day of September, 2015.

/s/ David J. Hanus

 

David J. Hanus

State Bar No. 10279()1

Brett B. Larsen

State Bar No. 1064355

Attorneys for Defendant

Credit Acceptance Corporation
HINSHAW & CULBERTSON LLP
100 E. Wisconsin Avenue, Suite 2600
Milvvaukee, WI 53202

Telephoiie 414-276-6464

Fax 414-276-9220

Email: dhanus@hinshawlavv.com
Email: blarsen@hinshawlaw.com

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STATE OF W|SCONS|N, C|RCUlT COURT, SA|NT CRO|X COUNTY

Plaintif`f: (Name [first, middle, last], Address, City, State, Zip)

 

.. haw
PO Box 357

Hudson, WI 54016
Ei See attached for additional plaintiffs.

 

.vs-

 

 

 

 

 

 

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< Credit Acce tance Co oration
25505 Wesr le oa Summons and Comp|aint
Southf'ield MI 48034 Small Claim.¢
1:1 See attached for additional defendants. Casi 1 5SC1 092
lf you need help in this matter because of a disability, please cal|: l _'
*'l [S. §1 ?. ` . l:l Claim for money ($10,000 or less) 31001
z bag 30 lI| Return of property (replevin) 31003
l] Eviction 31004
lIl Arbitration award 31006
SUMMONS C| Return of earnest money 31008
To the Defendant(s): ‘ . ' > »pv a '
You are being sued as described below. lf you wish to dispute this matter: i“-
RYou must appear at the time and place stated bare q 201 16 Time l \ ,v 0 m
ill You must H|e wri n answer and provide a copy to the plaintiff or f l sw£
plaintist attorn on or before the date and time stated ' l ' ' t
|f you do not appear or ans er, the plaintiff may win this case and a judgment '

entered for what the plaintiff ls asking. v - - v 37 ckogx ¢Qu~~ry GOVERNMENT ¢ENTER
. 1101 Carmichael Rd.
Hudson, W| 54016

 
    

_,,.»r»

Clerk/A“omey Signature ' Date Summons issued Date Summons Mailed

"¢i`:fl\b' ,. 959

 

 

CO|VlPLA|NT

Plaintiff's Demand:
The plaintiff states the following claim against the defendant(s):
1. P|aintiff demands judgment for: (Check as appropriate)
l Claim for lV|oney $ 10,000. 00 El Eviction CJ Return of Earnest Money
El Return of property (replevin) (Descn'be pmperryin 2 below ) lIl Confirmation vacation modification or correction
(Not to include Wis Stats. 425 205 actions to recover collateral ) Of arbitratiOn aWard.

Plus interest, costs, attorney fees, if any, and such other relief as the court deems proper.
2 Bi`ief Sfafement Of dates and faCfS. (lf this is an eviction action and you are seeking money damages you must also state that claim on this form )

See attached complaint

 

 

 

 

 

 

 

 

 

EXH|B|T

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Summons and Com taint - Smaii Ciaims > 1 "Page 2 of 2"\* MERGEFORMAT
Case i\_lo. 138 /qu l

iIl See attached for additional information. Provide copy of attachments for court and defendant(s).

Veriflcation: Under oath, | state that the above complaint is true, except as those matters stated upon information and
beiief, and as to those matters i believe them to be true.

i am: ij plaintiff I attorney for the plaintiff

/O / _/
Subscribe and sworn to before me

signature /1air'1't”1ifo ttom, y’ ,,/` Dafe Anomey’s stare BarNumber
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` ' Piaintift”s/Attorney‘s Telephone Number
Notary Public, State of Wisconsin

 

  

 

 

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SC-500,10/07 Summons and Comp|aint ~ Smal| Ciaims

_ . Chapter 799, Wisconsin Statutes
This form shall not be modified. it may be supplemented with additional materiai.
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STATE OF WISCONSIN SMALL CLAIMS COURT COUNTY OF SAINT CROIX

 

Torrance Lee, Civil File No: 2015-SC- 1051 g
PO Box 357 Case code: 31001
Hudson, WI 54016

Plaintiff,
vs.

Credit Acceptance Corporation,
25505 West 12 Mile Road
Southfield, MI 48034

Defendant.

 

 

NOTICE OF APPEARANCE

 

PLEASE TAKE N()TICE that the undersigned attorney represents PlaintiffTorrance-Lee
in the above-captioned action. The undersigned requests that all notices and other papers subsequent

to the complaint be served on the undersigned at the addre

Eric L randa
CRA DAL AW CES, SC
__ 1237 les Avenu orth

PO Box 27

New Richmond, WI 54017
715-246-1010 (p)
715-246~1012 (f.)
Consurnerlaw@frontiemet.net
Wis. Attorney Lic. No. 1001833

  
      

DATED: Septernber 4, 2015

 

ATTORNEY FOR PLAINTIFF
TORRANCE LEE

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STATE OF WISCONSIN SMALL CLAIMS COURT COUNTY OF SAINT CROIX

 

TOrrance Lee, civn Fiie No: 2015-so l 051 1

Plaintiff,
vs.

Credit Acceptance Corporation,

  
 
  

 
 

Cl.F_RK OF COURT

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S`l' CROlX COUNT\."/_/§,

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COMPLAINT AND DEMAND FOR JURY TRIA

Defendant.

 

I. INTRODUCTION
1.- This is an action for damages brought by Torrance Lee (“Lee”) for Defendant Credit
Acceptance Corporation’ s (“Credit Acceptance”) violations of the Equal Credit Opportunity
Act, 15 U.S.C. §1691, et seq. (heieinafter “ECOA” or the “Act”), and Regulation B, 12
C.F.R. § 202 (hereinafter “ Regulation B”), promulgated by the Board of Govemors of the
Federal Reserve System pursuant to §1691b of the Act, as well as for Credit Acceptance’s
violations of the Wisconsin Consumer Act (“WCA” or “Consumer Act”).
II. JURISDICTION
2. Jurisdiction of this court arises under 15 U.S.C. §`1691e(f) (ECOA), Wis. Stat. § 421 .201-203
(WCA jurisdiction), Wis. Stat. § 801 .04 (general), Wis. Stat. § 801 .05 (long arm), and Wis.
Stat. 799.01
3. Venue in this court is appropriate under Wis. Stat. § 421 .401 (WCA venue) and Wis. Stat.
§ 801 .50 (venue), as a substantial part of the acts and ornmissions giving rise to the claims

asserted by Lee arose in this county.

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III. PARTIES
Plaintiff Torrance Lee is a individual residing at all relevant times in Saint Croix County,
Wisconsin.
While Lee is generally an intelligent person, he lacks specific sophistication in the specific
businesses of lending money, auto loans, and/or deferred deposit services
Lee was and is a “person” as defined by Wis. Stat. §§ 421.301 and 990.01(26), and is a
“person” protected by and entitled to enforce the remedies of the Consurner Act including
Wis. Stat. §§ 427.101 - 105.
Lee was and is a “consumer” or “customer” as defined by Wis. Stat. § 421.301(17).
Credit Acceptance is a sophisticated financial services company, operating throughout
Wisconsin and throughout the United States, and takes assignments of automobile
installment payment connects executed by Wisconsin residents, and is an assignee governed
by the Consumer act and is subject to all claims and defenses Lee could bring against Inver

Grove Auto, per Wis. Stat. § 422.407

Credit Acceptance is engaged in the collection of debts owed itself using the mail and

telephone

Credit Acceptance regularly attempts to collect debts owed itself, and was and is a “debt

collector” as defined by Wis. Stat. § 427.103(3).
Credit Acceptance was and is a “merchant” as defined by Wis. Stat. § 421.301(25).

Credit Acceptance was and is a “person” as that term is used in Wis. Stat. § 100.18, and as

defined by Wis. Stat. § 990.01(26) and by Wis. Stat. § 421.301.

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Credit Acceptance Corporation is a foreign corporation

Credit Acceptance regularly extends, renews or continues credit, arranges for the extension,
renewal or continuation of credit, or participates in the decision of whether or not to extend
credit.

Credit Acceptance is engaged in the purchases of auto loan contracts where consumers owe
money, and is engaged in the subsequent collection of debts arising from those auto loan
contracts

Credit Acceptance is liable for the acts of its employees, agents, and independent contractors,
and those of its subsidiaries and affiliates, under theories of respondeat superior, agency,
non-delegable duty and vicarious liability.

As a business conducting its affairs within the United States generally, and Wisconsin
specifically, Credit Acceptance is deemed to know what is lawful and what is unlawful under
US and Wisconsin law. Barlow v. United States, 8 L. Ed. 728 (1833)(“ignorance of the law
will not excuse any person, either civilly or criminally”); Atkins v. Parker, 472 U.S. l 15, 130
(1985)(“all citizens are presumptively charges with knowledge of the law”); Putnam v. Time

Warner Cable of Southeastern Wisconsin, LP, 2002 Wl 108,11 13 & footnote 4, 255 Wis.2d

`447, 458, 649 N.W.2d 626 (Wis. 2002)(“Wisconsin has adopted the mistake of law

doctrine”).

IY. FAC'I`UAL ALLEGATIONS
On or about March 3 l , 2014 Lee applied for credit with AMTAC, LLC, which does business
under the name Inver Grove Auto, in connection with the purchase of a motor Vehicle.

Said application and purchase was primarily for personal, family, or household purposes

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In connection with the credit application, Lee executed a retail installment contract and
security agreement, which obligated Lee to purchase a 2007 Ford Expedition for $16,307.68.
Lee made a down payment of $3,500.00, agreed to purchase GAP insurance, and agreed to
pay the applicable sales, use and excise taxes, and relevant title fees.

All told, Lee financed $13,520.43, and agreed to repay this amount over 60 installments at
an interest rate of 22.99%.

In connection with Lee’s application for credit, Inver Grove Auto presented Lee’s credit
application to Credit Acceptance.

Credit Acceptance approved the credit application, and agreed to purchase and did purchase
lnver Grove Auto’s interest in the March 31, 2014 retail installment contract and security
agreement

Lee executed appropriate 4"iitle transfer documents and forms, and took ownership and
possession of the vehicle, thus consummating the transaction on March 31, 2015.

Gn or about April 4, 2014, Credit Acceptance sent Lee a letter thanking Lee for “financing
[his] vehicle through Credit Acceptance” and also gave Lee a brief notice of certain rights
Lee had under State and Federal Law.

On or about April 4, 2014, Credit Acceptance sent Lee a letter explaining to Lee how and
where to make his monthly payments

Sometime shortly after April 4, 2015, staff at lnver Grove Auto called Lee, told him the
transaction had somehow been canceled, that they had a refund check for him, and demanded

that Lee return the vehicle,

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On or about April 7, 2014, Lee returned the vehicle, and Inver Grove Auto either delivered
or sent to Lee a check in the amount of $3,500.00 drawn on Inver Grove’s Associated Bank
account. The check was marked down payment refund.

On or about April 14, 2014, Credit Acceptance sent Lee a letter explaining to Lee that the
retain installment contract had been “re-assign[ed]” back to Inver Grove Auto.

ln spite ofLee’ s return of the vehicle, and the return of the down payment, Credit Acceptance
continued to bill and dunn Lee, making numerous unwanted and inappropriate collection
calls to Lee’s phone.

ln spite-ofLee’s return of the vehicle, and the return of the down payment, Credit Acceptance
on or about June 12, 2014, sent Lee a “notice of right to cure default” which falsely accused
Lee of defaulting on the contract, demanded amounts which were not due, falsely threatened
to repossess a vehicle Lee no longer possessed or owned, falsely threatened Lee with
“utiliz[ation] [of] the court system” and falsely threatened Lee with liability for court costs
and attorney fees.

On August 27, 20 14, Credit Acceptance sent Lee a letter indicating that the retail installment
contract “has been assigned to the Selling Dealer.”

However, at no time has Credit Acceptance sent, given, or delivered to Lee any of the written
notifications required by the ECOA and Regulation B.

In spite of the application, credit approval, and subsequent cancellation of the loan,
Defendant failed to provide Lee with written notification of Defendant’s action on the

application and loan, as required by the Act and Regulation B.

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36. Defendant also has failed to provide complete records of Lee’s application for credit, and/or
the credit transaction between the parties to Lee, upon his valid request.
37. As a result of the acts alleged above, Lee has suffered damages.
V. CAUSES ()F ACTION
COUNT 1. EOUAL CREDIT OPPORTUNITY ACT
38. Lee incorporates by reference all the foregoing paragraphs
39. Credit Acceptance violated the ECOA. Credit Acceptance's violations include, but are not
limited to the following:
(a) Failure to provide written notification
Defendant violated § l69l(d) of the Act and § 202.9(a)(2) of Regulation B
by failing to provide Lee with written notification of Defendant’s action on
Lee’s application for credit.

(b) Failure `to retain records

Defendant violated § 202.12 of Regulation B by failing to retain complete
records of Lee’s application for credit, and/or the credit transaction between

the parties

40. As a result of the above violation of the ECOA, the Defendant is liable to the Lee in the sum

of Lee's actual damages, statutory damages, and costs and attorney's fees.

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COUNT 2. WISCONSIN CONSUMER ACT

41. Lee incorporates by reference all Paragraphs above.

42. Credit Acceptance violated the Wisconsin Consumer Act. Credit Acceptance’s violations

include, but are not limited to the following:

(a)

(b)

(C)

Prohibited Practice/Unlawful Debt Collection Actions:

Credit Acceptance violated Wis. Stat. § 427.104(1)(g), (h), & (j) by
repeatedly attempting to enforce a right with knowledge or reason to know
that the right does not exist, via Credit Acceptance’ continued dunning of
Lee for an account that had been unilaterally cancelled by Credit Acceptance.

Prohibited Practice/Unlawful Debt Collection Actions:

Credit Acceptance violated Wis. Stat. § 427.l04(l)(g), (h), and (j) by
repeatedly attempting to enforce a right with knowledge or reason to know
that the right does not exist, via Credit Acceptance’ June 12, 2014 letter to

Lee seeking to collect on and enforce an account that had been unilaterally
cancelled by Credit Acceptance.

Prohibited Practice/Unlawful Debt Collection Actions:
Credit Acceptance violated Wis. Stat. § 427.104(1)(L) by threatening to

repossess a vehicle Lee no longer possessed or owned, via Credit
Acceptance’ June 12, 2014 letter to Lee.

43. As a result of the above violations of the Wisconsin Consumer Act, Credit Acceptance is

liable to Lee in the Surn ofPlaintifi’S actual damages, statutory darnages, punitive damages,

costs, disbursements and reasonable attorney’s fees.

 

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VI. REQUEST F()R RELIEF

44. WHEREFORE, Plaintiff 'l`orrance Lee respectfully requests that Judgment be entered
against the Defendant Credit Acceptance Corporation as follows:
Count I.
a. Lee's actual damages, pursuant to l5 U.S.C. § l69le(a);
b. statutory damages, pursuant to 15 U.S.C. §l69le(b);
c. costs and reasonable attorney's fees, pursuant to 15 U.S.C. §l69le(d); and
d. such other and further relief as the court deems just and equitable
Count II.
a. Awarding Lee his actual and compensatory damages, along with any
available and applicable prejudgment interest;
b. Awarding Lee statutory damages of $ 25.00 per violation, pursuant to Wis.
Stat. § 425.302;
c. Awarding Lee statutory damages of $lO0.00 per violation, pursuant to
Wis. Stat. § 425.303; `
d. Awarding Lee statutory damages of $1,000.00 per violation, pursuant to
Wis. Stat. § 425.304 & 427.105;
e. awarding Lee punitive damages;
f. Awarding Lee costs, disbursements, and reasonable attorneys fees
pursuant to Wis. Stat. § 425.308, to the extent allowed by law;
45.

Lee hereby foregoes any recovery of damages past the jurisdictional limit of Wis. Stat. §

799.0l

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VII. DEMAND FOR JURY TRIAL

46. Torrance Lee hereby demands that, to the extent guaranteed arid provided by the United
States and Wisconsin Constitutions, United States and Wisconsin Statutes and United States

and Wisconsin Common Law, these claims be determined b)yof hi eers.

  

DATED: September 4, 2015

  

" o es Avenue North
PO Box 27

New Richmond, WI 54017
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715-246-1012 (t)
yConsumerlaw@frontiernet.net
Wis. Attorney Lic. No. 1001833

ATTORNEY FOR PLAINTIFF
TORRANCE ‘LEE

